Case 1:05-cv-00145-GZS Document 35 Filed 04/19/06 Page 1 of 1                   PageID #: 619




                           UNITED STATES DISTRICT COURT
                                   District of Maine

DAVID FIACCO,                                )
       Plaintiff                             )
                                             )
v.                                           )
                                             )      Civil No. 05-145-P-S
SIGMA ALPHA EPSILON                          )
FRATERNITY,                                  )
                                             )
            Defendant                        )
                                             )

                         ORDER AFFIRMING THE
              RECOMMENDED DECISION OF THE MAGISTRATE JUDGE


       The United States Magistrate Judge filed with the Court on March 31, 2006, her
Recommended Decision (Docket No. 30). Defendant filed its Objection to the Recommended
Decision (Docket No. 32) on April 17, 2006 and incorporated Motion for Oral Argument (Docket
No. 33). Plaintiff filed his Response to Objection (Docket No. 34) on April 18, 2006.
       I have reviewed and considered the Magistrate Judge's Recommended Decision, together
with the entire record; I have made a de novo determination of all matters adjudicated by the
Magistrate Judge's Recommended Decision; and I concur with the recommendations of the United
States Magistrate Judge for the reasons set forth in her Recommended Decision, and determine that
no further proceeding is necessary.


       1.      It is therefore ORDERED that the Recommended Decision of the Magistrate Judge is
               hereby AFFIRMED.
       2.      Defendant’s Motion to Dismiss (Docket No. 8) is DENIED.


                                                    /s/ George Z. Singal__________
                                                    Chief, U.S. District Judge

Dated: April 19, 2006.
